Case 2:25-cv-11038-SJM-DRG ECF No. 1-5, PageID.42 Filed 04/10/25 Page 1 of 3




                              Exhibit D
      Email to Xiangyun Bu regarding SEVIS
                   termination
4/10/25, 10:58Case
              AM   2:25-cv-11038-SJM-DRG
                              University of Michigan ECF     No.ticket
                                                     Mail - Your   1-5,withPageID.43          Filed(URGENT:
                                                                            the International Center 04/10/25
                                                                                                            SEVISPage    2 of 3
                                                                                                                 record termin...)



                                                                                                     Xiangyun Bu <                       >



  Your ticket with the International Center (URGENT: SEVIS record termin...)
  U-M International Center <icenter@umich.edu>                                                              Mon, Apr 7, 2025 at 4:22 PM
  Reply-To: icenter@umich.edu
  To: Xiangyun Bu <                >


    Hello Xiangyun Bu,

    A ticket was recently created for you with the International Center. Details of the ticket are below. If you have any
    questions about this ticket, you may reply directly to this email notification. When replying to any ticket notification
    email, do not modify the original email in any way or change the recipient email address. We also kindly ask that
    you not send multiple emails asking the same questions or submit the same form multiple times. This only slows down our
    ability to respond.


      Ticket Details
      Ticket ID
      8218146

      Subject
      URGENT: SEVIS record termination notification

      Description
      Hello Xiangyun,

      I am writing to inform you that we unfortunately learned during our daily check of SEVIS records
      that your SEVIS record was "terminated" by a Department of Homeland Security (DHS) official.
      The reason noted was “OTHERWISE FAILING TO MAINTAIN STATUS - Individual identified in
      criminal records check and/or has had their VISA revoked. SEVIS record has been terminated.”

      We do not have any additional information about this termination, but this means you no longer
      hold valid F-1 status within the United States. You will need to cease any employment
      immediately. Since this termination does not carry a grace period, we must recommend you
      make plans to exit the United States immediately.

      We strongly recommend you speak with your academic program to see if there are options that
      would allow you to continue your program remotely.

      Should you wish to investigate options to remain in the U.S., you may consult with an
      immigration attorney who has experience with status violations and removal proceedings. The
      American Immigration Lawyers Association has an online resource that may be useful
      at https://ailalawyer.com/.

      Unfortunately, neither the International Center nor the University of Michigan has the authority to
      reverse this termination. We understand this news is unsettling and stressful. We would like to
      speak with you and think it will be helpful as you navigate this news. Please respond to this
      email and I will schedule a time to meet with you.



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4/10/25, 10:58Case
              AM   2:25-cv-11038-SJM-DRG
                              University of Michigan ECF     No.ticket
                                                     Mail - Your   1-5,withPageID.44          Filed(URGENT:
                                                                            the International Center 04/10/25
                                                                                                            SEVISPage    3 of 3
                                                                                                                 record termin...)

      Sincerely,

      Elizabeth Wiseman
      International Student and Scholar Advisor




      Date Created
      Mon 4/7/25 4:22 PM Eastern Daylight Time

      Requestor
      Xiangyun Bu

    To reply to this ticket or to add additional information, please reply to this email. Please do not modify the original email in
    your reply or change the recipient email address.

    Best regards,

    International Center




     To comment on this item, reply to this email.

    ----TEAMDYNAMIX DO NOT ALTER OR REMOVE
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